Case 2:05-cr-20072-.]PI\/| Document 39 Filed 07/22/05 Page 1 of 3 Page|D 51

Fll-ED BY ZI{Q_ o.c.
IN THE UNITED S'I'ATES DISTRIC'I` COUR'I'
FOR THE WESTERN DISTRICT OF TENNESSEE ' _ _
WESTERN DIVISION BSJUL 22 FH |' 59

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Criminal No. E-§Id¢ ly

(30-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CON'I'INUANCE
AND EXCLUSION OF` TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the August, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, Auqust 26, 2005, with trial to take place on the
September, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through September 16, 2005. Agreed in open court

at report date this 22nd day of July, 2005.

This document entered on the docket sheet Tn compliance

Wirh F£u|e 55 and/or 32(b) FHCrP on ‘Z* 2 512,5 ` 3 g

Case 2:05-cr-20072-.]PI\/| Document 39 Filed 07/22/05 Page 2 of 3 Page|D 52

SO ORDERED this 22nd day Of July, 2005.

L>M‘QQQ

JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

C_/

Assi tant ited States ttorney

AM/W%/

 

 

 

Counsel for Defendant(S)

   

UNITED sT"RATEDISTIC COURT -WESTER D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:05-CR-20072 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

